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6
7                       UNITED STATES DISTRI CT CO URT
8                 FOR THE EASTERN DISTRICT OF C ALIFORNIA
9
10   FAMILY F ARM ALLIANCE ,                   1:09-CV- 01201 OWW DLB
11                          Pla intiff,        MEMORANDUM DEC ISION RE
                                               PLAINTIFF’S MO TION T O COMPEL
12
                       v.                      PRODUCTION OF ADMINI STRATIVE
13                                             RECORD. (DOC. 25)
     KENNETH LEE SALAZAR, et al.,
14
                            Def endants.
15
16
17                               I. INTRODUCTION
18        Plaintif f, Family Fa rm Alliance (“Alliance”) move s to
19   compel F ederal Defen dants to “immediately file th e
20
     Administ rative Recor d in the above-captioned action.”
21
     Doc. 26 at 1, filed November 9, 2009.               Federal
22
     Defendan ts, who cont end that they are only a few weeks
23
     away fro m completing and filing the Administrativ e Record
24
25   (“AR”), oppose the m otion to compel.              Doc. 27, fi led

26   November 23, 2009.        The Alliance filed a reply on

27   November 30, 2009.        Doc. 28.
28
                                           1
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1                    II. LEGAL AND FACTUAL BACKGRO UND
2         The Comp laint, which arises under the Information
3    Quality Act (“IQA”), guidelines promulgated pursu ant to
4
     the IGA, and Section 7 of the Endangered Species Act
5
     (“ESA”), 16 U.S.C. § 1536(a)(2), chal lenges both the
6
     preparat ion and diss emination of Defendant United States
7
     Fish and Wildlife Se rvice’s (“FWS”) December 15, 2008
8
9    Final Bi ological Opi nion concerning the impact of

10   coordina ted operatio ns of the Central Valley Proj ect

11   (“CVP”) and State Water Project (“SWP ”) on the delta
12   smelt (h ypomesus tra nspacificus)           (“BiOp” o r “200 8
13
     BiOp”), as well as F WS’s compliance with IQA proc edures.
14
          The Info rmation Qual ity Act of 2000 directs the
15
     Office o f Management and Budget (“OMB”) to issue
16
     guidelin es “that provide policy and procedu ral gu idanc e
17
18   to Feder al agencies for ensuring and maximizing t he

19   quality, objectivity , utility, and integrity of
20   informat ion dissemin ated by Federal agencies .... ”                Pub.
21
     L. No. 1 05-554 § 1(1)(3) (Dec. 21, 2000) (codifie d at 44
22
     U.S.C. 3 516 no te 4(a )).       OMB was instructed to in clude
23
     the foll owing provis ions in its guidelines: (1) t hat
24
     federal agencies iss ue their own guidelines not m ore than
25
26   one year after OMB i ssues its guidelines; (2) tha t

27   agencies “establish administrative mechanisms allowing

28
                                          2
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1    affected person to s eek and obtain correction of
2    informat ion maintain ed and disseminated by the ag ency
3
     that doe s not comply with [the OMB guidelines];” and (3)
4
     that age ncies period ically report to the director of OMB
5
     the natu re and numbe r of complaints and how they were
6
     handled.     See 44 U.S.C. 3516 note 4(b)(2).              The OMB
7
8    guidelin es provide:

9               To facil itate public review, agencies shall
                establis h administra tive mechanisms allowing
10              affected persons to seek and obtain, where
                appropri ate, timely correction of information
11              maintain ed and disse minated by the agency that
12              does not comply with OMB or agency guidelines.
                These ad ministrative mechanisms shall be
13              flexible , appropriat e to the nature and
                timeline ss of the di sseminated information, and
14              incorpor ated into ag ency information resour ces
                manageme nt and admin istrative practices.
15
                      i. Agenc ies shall sp ecify appropriate time
16
                      periods for agency d ecisions on whether and
17                    how to c orrect the i nformation, and agencies
                      shall no tify the aff ected persons of the
18                    correcti ons made.
19                    ii. If t he person wh o requested the
                      correcti on does not agree with the agency's
20
                      decision (including the corrective action,
21                    if any), the person may file for
                      reconsid eration with in the agency. The
22                    agency s hall establi sh an administrative
                      appeal p rocess to review the agency's
23                    initial decision, an d specify appropriate
                      time lim its in which to resolve such
24                    requests for reconsi deration.
25
     67 Fed. Reg. 8,452, 8,459 (Feb. 22, 2002).
26
          FWS’s IQ A Guidelines , issued October 18, 2002,
27
     “establi sh FWS policy and procedures for re viewin g,
28
                                          3
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1    substant iating, and correcting the quality of inf ormation
2    it disse minates,” so that “persons affected by th at
3
     informat ion may seek and obtain, where appropriat e,
4
     correcti on of inform ation that they belief may be in
5
     error or otherwise n ot in compliance with” the IQ A.                                   67
6
     Fed. Reg . 64,407, FW S IQA Guidelines 1 at 1.                              Any affected
7
8    member o f the public may submit a “request for

9    correcti on” to FWS a sserting that material made p ublic by

10   FWS does not meet IQ A standards.                         Id. at 7.          If F WS
11   determin es “a reques t for correction of informati on [is]
12
     appropri ate for cons ideration,” the “burden of pr oof is
13
     on the c omplainant w ith respect to the necessity for the
14
     correcti on as well a s with respect to the type of
15
     correcti on they seek .”                 Id. a t 8.        As part of its
16
17   analysis of the corr ection request, “FWS may cond uct a

18   post hoc peer review of original information from other
19   sources when circums tances warrant.”                            Id. a t 10.
20
            Upon fin ding a reque st for correction of informat ion
21
     to be ap propriate fo r con side ration, FWS “will re view the
22
     request and issue a decision within 90 calendar d ays from
23
     receipt of the chall enge.”                    Id. at 9.          However, “[i]f the
24
25   request requires mor e than 90 calendar days to re solve,

26   the agen cy will info rm the complainant that more time is

27
     1
       Av ai la bl e at h tt p: // www .f ws .g ov /i n for ma ti on qu al it y/ to pi cs/
28   FWS %2 0I nf or ma ti on %2 0Q ual it y% 20 Gu id e lin es .p df
                                                     4
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1    required , indicating the resason(s) why and provi ding an
2    alternat ive timeline for reaching a decision.”                 Id.
3
          If FWS a pproves of a correction request, it “will
4
     take cor rective acti on, however, the time require d for
5
     correcti ve action to be taken will de pend on the
6
     circumst ances of eac h situation.”              Id.   Corrective
7
8    measures may include “personal contacts via a let ter,

9    form let ters, press releases or postings on the F WS

10   website to correct a widely disseminated error or address
11   a freque ntly raised reque st.”            Id.
12
          If FWS d enies a requ est for correction, a request er
13
     may admi nistratively appeal that denial to “a pan el
14
     consisti ng of high-level officials fr om the FWS and, w hen
15
     availabl e, another D epartment of Interior agency such as
16
17   the U.S. Geological Survey.”             Id.     Th e appe al panel “w ill

18   make a r ecommendatio n which will be forwarded to the
19   Director of the FWS (or another senior official
20
     authoriz ed to act on the Director’s behalf).”                 Id.    The
21
     Director or designat ed representative “will make the
22
     final de cision on the appeal within 60 calendar d ays from
23
     receipt of the appea l....”          Id.
24
25        “Factors such as ... statutory or court-ord ered

26   deadline s, circumsta nces beyond [FWS’s] control, or other

27   time and financial c onstraints may limit or precl ude
28
                                          5
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1    applicab ility of [the] guidelines....”              Id. at 2.       FWS ’s
2    IQA Guid elines also provide that the “guidelines are
3
     intended only to imp rove the internal management of FWS
4
     relating to informat ion quality” and “ do not pro vide any
5
     right to judicial re view” or “create any right or
6
     benefit, substantive or procedural, enforceable b y law or
7
8    equity b y a party ag ainst the United States, its

9    agencies , its office s, or another person.”               Id. a t 6.

10          The Firs t Cause of A ction alleges that Federal
11   Defendan ts failed to comply with the IQA, t he IQA
12
     Guidelin es, and ESA § 7 in preparing and dissemin ating
13
     the 2008 BiOp.       Doc. 1 at ¶¶ 39-51.         Among other thing s,
14
     the Alli ance alleges that the 2008 BiOp failed to use the
15
     “best sc ientific and commercial data available” a s
16
17   required by the IQA, IQA Guidelines, and ESA § 7.                    Id. at

18   ¶44,
19          The Seco nd Cause of Action alleges that the IQA
20
     Guidelin es “mandate the timeline in which the FWS is to
21
     provide appropriate responses to a request for co rrection
22
     and an a ppeal,” and that FWS has not respon ded adequately
23
     and in a timely mann er to their requests and appe als,
24
25   which co nstitutes un lawful delay under the Admini strative

26   Procedur e Act (“APA” ).        Id. a t ¶¶ 54-55.       Plaintiff se eks

27   an order compelling “agency action unlawfully wit hheld or
28
                                          6
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1    unreason ably delayed .”             Id. a t ¶53. 2
2          The thir d cause of a ction alleges that, by failin g to
3
     conduct an appropria te peer review using independ ent
4
     experts as required by FWS’s own IQA Guidelines,
5
     Defendan ts have viol ated the APA by reaching a fi nding or
6
     conclusi on “without observanc e of procedure required b y
7
8    law.”      5 U.S.C. § 70 6(2)(D).

9
                                      III. ANALYSIS
10
           The part ies dispute both the content and timing o f
11
     the AR.       The parties agree that the AR in the
12
     Consolid ated Delta S melt Cases, 1:09-cv-004 07 OWW DLB,
13
14   will mak e up the bul k of the record i n this case, along

15   with cer tain, stipul ated communications between t he

16   parties.       See Doc. 26 at 3.             Federal Defend ants a lso p lan
17   to inclu de in the AR materials generated during t he IQA
18
     administ rative appea l, including analysis and doc uments
19
     relied u pon an d generated by the independent third-party
20
     review p anel that FW S convened as part of the IQA
21
22   administ rative appea l process.                  See Doc. 27 at 1.

23         Plaintif f opposes in clusion of materials from the IQA

24
     2
       Fe de ra l De fe nd an ts c ont en d th at b e cau se F WS r es po nd ed t o t he
25   All ia nc e’ s ap pe al o n Nov em be r 20 , 2 009 , th is c au se o f ac tio n is
     moo t, a nd i nd ic at e th eir i nt en t to fil e a mo ti on t o di sm iss o n
26   moo tn es s gr ou nd s. Do c. 27 a t 10 n . 1; Do c. 2 7- 2 (F WS ’s r esp on se t o
     adm in is tr at iv e ap pe al ). P la in ti ff doe s no t ag re e th at t hei r se co nd
27   cau se o f ac ti on i s mo ot. Do c. 2 8 a t 4 . I t is n ot a pp ro pri at e to
     dec id e mo ot ne ss a t th is ti me , as t h e i ss ue h as n ot b ee n pro pe rl y
28   pre se nt ed f or d ec is io n.
                                                 7
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1    appeal p rocess, asse rting they are “extra-record
2    evidence .”     Doc. 26 at 3.       The Allian ce contends that
3
     Federal Defendants’ plan to include these materia ls in
4
     the AR “ demonstrates their confusion between acti ons that
5
     challeng e the propri ety of a final agency action and
6
     actions that are bro ught to compel an agency to a ct in
7
8    the firs t instance.”        Id. at 3.      Plaintiff’s argument

9    continue s:

10              In this particular l itigation, the Alliance’s []
                First an d Third Clai ms for Relief are seeking
11              judicial review of t he 2008 Biological Opinion,
12              the fina l agency act ion in this matter, as a
                challeng e to the pro priety of that opinion.
13              Only the Alliance’s Second Claim for Relief is
                seeking the FWS resp onse to its IQA Appeal as a
14              means to compel acti on required by the IQA and
                its impl ementing gui delines....
15
                When a p laintiff cha llenges a final agency
16
                action, judicial rev iew normally is limited to
17              the admi nistrative r ecord in existence at the
                time of the agency’s decision. See C itizen s to
18              Preserve Overton Par k, Inc. v. Volpe, 401 U.S.
                402, 420 (1971), ove rruled on other grounds by
19              Califano v. Sanders, 430 U.S. 99 (197 7). I n
                these ca ses, the age ncy must justify its final
20
                action b y reference to the reasons it considered
21              at the t ime it acted . See Camp v. Pitts, 411
                U.S. 138 , 142- 43 (1973). The Second Claim for
22              relief i s to compel Defendant FWS to provid e an
                adequate response to the Alliance’s IQA Appeal.
23              It is no t a challeng e to a final agency
                decision , but rather an action arising under 5
24              U.S.C. § 706(1). In such cases, review is not
25              limited to the recor d, as it existed at any
                single p oint in time , because there is no final
26              agency a ction to dem arcate the limits of the
                record. See Indepen dence Mining Co., Inc. v.
27              Babbit, 105 F.3d 502 , 511 (9th Cir. 1 997).
28
                                          8
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1               Therefor e, the issue regarding the
                administ rative recor d with regard to the First
2               and Thir d Claims for relief, which are seeking
                judicial review of t he flawed 2008 Biological
3
                Opinion. As the 200 8 Biological Opinion has
4               been pre pared and di sseminated, the review of
                that age ncy decision must be limited to the
5               informat ion the FWS had befor e it at the ti me of
                decision -making. Th e hundreds of pages of
6               exhibits submitted b y Federal Defendants
                regardin g the post h oc review of the 2008
7               Biologic al Opinion w ere clearly not in the
8               possessi on of the ag ency at the time of the
                final ag ency action.
9
     Doc. 28 at 3-4 .
10
          Plaintif f essentiall y argues that it should be ab le
11
12   to rely on the IQA a s a substantive standard agai nst

13   which th e BiOp can b e measured, while the AR shou ld be

14   limited to materials in possession of the agency when the
15   BiOp was issued.        But, the only remotely an alogou s
16
     publishe d cases sugg est otherwise.            Forest Guardi ans v .
17
     U.S. Dep t. of Interi or, 4 16 F .3d 1173, 1177 (10th Cir.
18
     2005).     In Forest Gu ardians, plaintiff, a nonprof it
19
     organiza tion, sought certain documents from the B ureau of
20

21   Land Man agement (“BL M”) under the Freedom of Info rmation

22   Act (“FO IA”), 5 U.S. C. § 552, and a waiver of all search

23   and copy ing fees.       Id. at 1174.       The agency refused to
24   release the informat ion and denied the fee waiver
25
     request.     Plaintiff filed an administrative appeal, bu t
26
     the agen cy failed to timely respond.             Id. a t 1176 .
27
     Plaintif f then filed a complaint in federal court ,
28
                                          9
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1    seeking declaratory and injunctive relief.                 Altho ugh the
2    scope of the adminis trative record was not an iss ue in
3
     that cas e, the tenth circ uit specifically indicat ed that
4
     the reco rd included “the initial FOIA request, th e
5
     agency’s response, a nd any subsequent materials r elated
6
     to the a dministrativ e appeal.”           Id. a t 1177; see also,
7
8    Jarvick v. C.I.A., 495 F. Supp. 2d 67, 71 ( D.D.C.

9    2007)(ap plying langu age from Forest Guardians to include

10   in the a dministrativ e record “materials related t o the
11   administ rative appea l,” while excluding documents filed
12
     after th e appeal was completed).
13
           Plaintif f’s challeng e to the BiOp based on the IQ A
14
     and alle gation s that FWS has failed to abide by IQA
15
     procedur al requireme nts have brought the IQA and its
16
17   administ rative proce dures squarely before the cou rt for

18   decision .     Plaintiff ’s objection to inclusion of
19   material s related to the administrative appeal is without
20
     merit.     The record f or these claims m ust in clude
21
     Plaintif f’s appeal a nd the Department of Interior ’s
22
     response .
23
           Plaintif f’s objectio n to the filing of the AR in mid-
24
25   January is also unfo unded.           The Alliance correctl y points

26   out that “the new wa ter year has begu n and the

27   restrict ive measures implemented by the 2008 Biol ogical
28
                                          10
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1    Opinion continue to harm the Alliance and its mem bers,”
2    Doc. 26 at 6, but fa ils to explain why the fillin g of the
3
     AR by mi d-Janu ary wi ll ha rm the Alliance, g iven that
4
     Plaintif f’s motion for su mmary judgment is not du e unt il
5
     April 15 , 2010.
6
7                                IV. CONCLUSION
8          Plaintif f’s motion t o compel immediate production of
9
     the AR i s DENIED.
10
11
     SO ORDER ED
12   Dated: December 18, 2009
                                           /s/ O liver W. Wanger
13
                                            Oliver W. Wang er
14                                      United States Distri ct Judge

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